Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 1 of 16 Page ID #:431



   1   PATRICK M. KELLY (SBN 45426)
       patrick.kelly@wilsonelser.com
   2   HERBERT P. KUNOWSKI (SBN 150141)
       herbert.kunowski@wilsonelser.com
   3   ROBERT COOPER (SBN 209641)
       robert.cooper@wilsonelser.com
   4   WILSON, ELSER, MOSKOWITZ,
       EDELMAN & DICKER LLP
   5   555 South Flower Street, Suite 2900
       Los Angeles, CA 90071
   6   Telephone: 213.443.5100
       Facsimile: 213.443.5101
   7
       ASHLEY VINSON CRAWFORD (SBN 257246)
   8   avcrawford@akingump.com
       DANIELLE C. GINTY (SBN 261809)
   9   dginty@akingump.com
       AKIN GUMP STRAUSS HAUER & FELD LLP
  10   580 California Street, Suite 1500
       San Francisco, CA 94014
  11   Telephone: 415.765.9500
       Facsimile: 415.765.9501
  12
       Attorneys for Defendants,
  13   D and D Marketing, Inc., d/b/a T3Leads,
       Grigor Demirchyan, and Marina
  14   Demirchyan
  15

  16                         UNITED STATES DISTRICT COURT
  17                       CENTRAL DISTRICT OF CALIFORNIA
  18                                 WESTERN DIVISION
  19   Consumer Financial Protection Bureau, )    Case No.     2:15-cv-09692-PSG(Ex)
                                             )
  20                                         )    Hon. Philip S. Gutierrez
                                             )
  21                    Plaintiff,           )    [PROPOSED] ORDER ON
                                             )    DEFENDANTS’ MOTION FOR
  22         v.                              )    CERTIFICATION OF
                                             )    INTERLOCUTORY APPEAL &
  23                                         )    CONCOMITANT STAY
                                             )
  24   D and D Marketing, Inc., d/b/a        )    Hearing Date:     March 6, 2017
       T3Leads, Grigor Demirchyan, and       )    Hearing Time:     1:30 p.m.
  25   Marina Demirchyan,                    )    Courtroom:        6A
                                             )    Courthouse:       First Street
  26                                         )
                                             )
  27                    Defendants.          )
                                             )
  28                                         )
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 2 of 16 Page ID #:432



   1         Defendants D and D Marketing, Inc., d/b/a T3 Leads (“D&D”), Grigor
   2   Demirchyan (“Grigor”), and Marina Demirchyan (“Marina”) (collectively
   3   “Defendants”) have filed a motion for certification that the Court’s November 17,
   4   2016 order denying their motion to dismiss is appropriate for an immediate,
   5   interlocutory appeal. 28 U.S.C. § 1292(b). In addition, Defendants have moved for
   6   a stay of the District Court proceedings pending the completion of the appellate
   7   proceedings.
   8         Having entertained the arguments presented by paper and in person by both
   9   sides, the Court hereby GRANTS the motion. Accordingly, the Court certifies the
  10   following questions for review by the Ninth Circuit:
  11         1)       Given the Court’s holding that the Bureau is unconstitutionally
  12   structured, what is the proper remedy for this constitutional defect?
  13         2)       Whether a party is barred from advancing an as-applied challenge to
  14   the constitutionality of a statute, based on the premise that the statute is not facially
  15   vague, where a novel interpretation of the statute may encourage its discriminatory
  16   enforcement? A subsidiary, threshold question is the proper test for evaluating
  17   such challenges.
  18         In support of its ruling, the Court finds that further proceedings in this
  19   litigation will be burdensome and extremely expensive, both for the parties and for
  20   the District Court. The relief requested is further justified because this Court’s
  21   November 17, 2016 order addressed legal issues of substantial practical importance
  22   and widespread applicability with significant implications for the entire financial
  23   services industry, thus warranting interlocutory appellate review. Finally, because
  24   a post-trial appeal of this Court’s final judgment will be required by the losing
  25   party, permitting an immediate appeal of the Court’s ruling would promote, rather
  26   than undermine, judicial economy by preventing protracted and costly discovery
  27   and an unnecessary trial and subsequent appeal. The Court’s ruling is based on the
  28   following analysis.
                                                   1
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 3 of 16 Page ID #:433



   1   I.     The Parties
   2          D&D is a lead aggregator that is in the business of receiving consumer data
   3   from lead generators, and selling the data as leads to small-dollar lenders and other
   4   lead purchasers. D&D’s automated “ping tree” system matches the leads to
   5   parameters set by independent lenders and other lead purchasers to whom D&D
   6   sells the leads. A consumer who submits information on a lead generator’s
   7   webpage is directed, through D&D’s ping tree, to a lender’s webpage as soon as
   8   possible (if the lender chooses to accept the consumer data), where the consumer
   9   can review the terms of the offered loan and ultimately decide whether to proceed
  10   with the loan transaction. Grigor and Marina are the two current principals of
  11   D&D.
  12          The Consumer Financial Protection Bureau (“Bureau”) is a federal agency,
  13   recently created by Congress to enforce the Consumer Financial Protection Act
  14   (the “CFPA”), 12 U.S.C. § 5481 et seq.
  15   II.    Procedural Background
  16          A.    The operative complaint
  17          The Bureau has sued D&D and its principals under the CFPA, seeking
  18   monetary damages, restitution, disgorgement and injunctive relief among other
  19   remedies. Claiming that D&D’s business model is “unfair” and “abusive” in
  20   violation of the CFPA, the Bureau claims that D&D is obligated to monitor the
  21   independent lead generators and lead purchasers with whom D&D does business to
  22   ensure that those third parties do not violate the CFPA. The Bureau’s vicarious
  23   liability theory is premised on its view that the loans provided by third party
  24   lenders are inconsistent with the terms and conditions initially disclosed to
  25   consumers by third party lead generators.
  26          B.    The motion to dismiss
  27          In response to this lawsuit, Defendants filed a motion to dismiss. In addition
  28   to challenging the Bureau’s allegations based on lack of legal authority to proceed
                                                 2
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 4 of 16 Page ID #:434



   1   with this action in light of its unconstitutional structure, Defendants argued that
   2   imposing liability would violate Defendants’ due process rights due to lack of prior
                                                                        1
   3   notice on Defendants’ alleged duty to monitor third parties.         Defendants also
   4   argued that adoption of the Bureau’s novel interpretation of the CFPA would
   5   render the CFPA unconstitutionally vague as applied to Defendants.
   6         C.     The Court’s ruling on Defendants’ motion to dismiss
   7         Despite adopting Defendants’ view that the Bureau’s structure is
   8   constitutionally flawed, the Court nonetheless denied Defendants’ motion to
   9   dismiss. (D.E. 57, pp. 6-8.) While acknowledging the split of authority “across the
  10   country” regarding “whether the structure of the CFPB—particularly the powers
  11   accorded to the Director—violates Article II of the Constitution” (id., p. 5.), the
  12   Court held that the “CFPB may continue to perform its duties, including the
  13   prosecution of this case against Defendants[.]” (Id. at p. 8.) The Court reasoned
  14   that, consistent with the D.C. Circuit’s recent decision in PHH Corporation v.
  15   CFPB, 839 F.3d 1 (D.C. Cir. 2016) (petition for rehearing en banc filed Nov. 18,
  16   2016), the statutory limitation on the President’s power to remove the Bureau’s
  17   director can be severed from the law, thus preserving the Bureau’s ability to
  18   prosecute lawsuits. (D.E. 57, pp. 7-8.)
  19         In addition, the Court rejected Defendants’ argument that they lacked
  20   adequate notice that their conduct violated the CFPA. Addressing a facial
  21   challenge and an as-applied challenge to CFPA, the Court held that there is no
  22   constitutional vagueness infirmity here. Id. at pp. 9-13. The Court reasoned that
  23   “economic regulation is subject to a less strict vagueness test because its subject
  24   matter is often more narrow and because businesses, which face economic
  25

  26   1
         Defendants incorporated by reference the constitutional argument that was
  27   presented by co-Defendant Formichev in one of the two other related lawsuits that
       was the subject of this Court’s November 17, 2016 order. (D.E. 48, p. 1; CV 16-
  28   2724 PSG (Ex); D.E. 57, p. 1.)
                                                 3
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 5 of 16 Page ID #:435



   1   demands to plan behavior carefully, can be expected to consult relevant legislation
   2   in advance of action.” Id. at p. 10 (citing Village of Hoffman Estates v. Flipside,
   3   Hoffman Estates, Inc., 455 U.S. 489, 498 (1982)). Invoking the cases decided
   4   under the Federal Trade Commission Act, the Court held that the case law under
   5   that statutory scheme provides adequate guidance to the public regarding the
   6   statutory terms used in the CFPA. (D.E. 57, pp. 10-11.) The Court also held that
   7   the CFPB had provided additional guidance to businesses in 2012 regarding its
   8   duty-to-monitor theory presented here. Id. at pp. 11-12. Finally, the Court held that
   9   even if the Bureau is advancing a new interpretation of the law, “due process
  10   concerns do not preclude an agency from prosecuting ‘borderline cases.’” Id. at p.
  11   12. Accordingly, the Court denied Defendants’ motion to dismiss. 2
  12

  13   III.   LEGAL DISCUSSION
  14
              The interlocutory appeal statute that is the subject of this motion provides in
  15
       pertinent part as follows:
  16

  17
              “When a district judge, in making in a civil action an order not
  18          otherwise appealable under this section, shall be of the opinion that
  19
              such order involves a controlling question of law as to which there is
              substantial ground for difference of opinion and that an immediate
  20          appeal from the order may materially advance the ultimate
  21          termination of the litigation, he shall so state in writing in such order.
              The Court of Appeals which would have jurisdiction of an appeal of
  22          such action may thereupon, in its discretion, permit an appeal to be
  23          taken from such order, if application is made to it within ten days after
              the entry of the order: Provided, however, That application for an
  24          appeal hereunder shall not stay proceedings in the district court unless
  25

  26

  27   2
        While Defendants raised additional grounds in their motion to dismiss, those
       grounds are not advanced in their motion for certification.
  28

                                                  4
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 6 of 16 Page ID #:436



   1
             the district judge or the Court of Appeals or a judge thereof shall so
             order.” 28 U.S.C. § 1292(b).
   2

   3
             As discussed below, both of the questions presented here satisfy the
   4
       statutory criteria for interlocutory review. The Court hereby states “the reasons that
   5
       warrant appeal as a guide to court of appeals consideration of the petition for
   6
       permission to appeal.” 16 Charles Alan Wright & Arthur R. Miller, Federal
   7
       Practice & Procedure § 3929 (3d ed. 1998).
   8

   9         A.     Given this Court’s holding that the Bureau’s structure violates
  10                the constitution, the Court certifies the related question regarding
                    the proper remedy for this constitutional defect.
  11

  12                1.    The proper remedy for the Bureau’s unconstitutional
                          structure presents a controlling legal issue.
  13

  14
             In order to satisfy the first statutory requirement, the case must present “a
  15
       controlling question of law.” 28 U.S.C. § 1292(b). The threshold issue presented
  16
       here – the practical impact of the Court’s finding that the Bureau’s structure is
  17
       unconstitutional – is, in essence, one of standing—or, more accurately, the lack
  18
       thereof. If the Court of Appeals adopts Defendants’ position that such a
  19
       constitutional violation precludes the Bureau from proceeding with this lawsuit, the
  20
       prosecution of this lawsuit would necessarily be preempted. After all, “federal
  21
       courts may exercise power … only when adjudication is ‘consistent with a system
  22
       of separated powers[.]’” Allen v. Wright, 468 U.S. 737, 752 (1984) (addressing
  23
       requirements for standing) (citation omitted).
  24
             The standing issue raised here – whether the Bureau has the legal power to
  25
       prosecute this lawsuit despite its unconstitutional structure – qualifies as a
  26
       controlling legal question because its resolution will inevitably affect the future
  27
       course of this litigation. If Defendants are correct, the Bureau “lacks authority to
  28

                                                 5
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 7 of 16 Page ID #:437



   1   bring this enforcement action because its composition violates the Constitution[al]”
   2   provisions discussed above. Federal Election Comm'n v. NRA Political Victory
   3   Fund, 6 F.3d 821, 822 (D.C. Cir. 1993). Therefore, the first statutory requirement
   4   for certification is met here.
   5         Defendants have further argued that the Supreme Court has held that
   6   remedies for constitutional violations should return one who was unconstitutionally
   7   denied an opportunity to the same position he would have occupied in the absence
   8   of the constitutional violation. See United States v. Virginia, 518 U.S. 515, 547
   9   (1996) (the proper remedy for unconstitutional exclusion of women from
  10   educational opportunity is to remedy the discriminatory effects of the past and to
  11   “bar like discrimination in the future”) (internal citations omitted). In other words,
  12   the Constitution demands that the remedy be tailored to the violation. See
  13   McKesson Corp. v. Div. of Alcoholic Beverages & Tobacco, 496 U.S. 18, 22, 31
  14   (1990) (if a state collects a tax that discriminates against interstate commerce, the
  15   Due Process Clause mandates that the state provide backward-looking relief that
  16   fully removes the discriminatory effects of the unconstitutional tax); Marbury v.
  17   Madison, 5 U.S. 137, 163 (1803) (there must be a proper remedy for the violation
  18   of a vested legal right). The application of these principles to this case warrants
  19   appellate review at this time.
  20         Defendants have further argued that the only proper remedy for the
  21   constitutional violation found by this Court, based on the plaintiff’s flawed
  22   structure, is the dismissal of this lawsuit. Without a properly-constituted body, they
  23   argue, plaintiff has no legal capacity or standing to bring this action in the first
  24   place. They also argue that this result is mandated by the rule that “[i]f the
  25   constitutional structure of our Government that protects individual liberty is
  26   compromised, individuals who suffer otherwise justiciable injury may object.”
  27   Bond v. United States, 131 S. Ct. 2355, 2365 (2011); see also Clinton v. City of
  28   New York, 524 U.S. 417, 450 (1998) (“Liberty is always at stake when one or more
                                                 6
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 8 of 16 Page ID #:438



   1   of the branches seek to transgress the separation of powers”) (Kennedy, J.,
   2   concurring).
   3         In light of these authorities, at a minimum, the constitutional error found by
   4   this Court presents a controlling legal question that justifies interlocutory review.
   5
                      2.   A substantial basis exists for difference of opinion regarding
   6                       the proper remedy for the constitutional defect found by the
   7                       Court.

   8
             With respect to the second criterion for certification, substantial grounds for
   9
       difference of opinion exist where reasonable jurists might disagree on the
  10
       resolution of an issue. This factor can be satisfied by demonstrating that either (a)
  11
       the appeal presents a novel issue on which fair-minded jurists might differ or (b)
  12
       courts that have considered the issue are divided. See Reese v. BP Exploration
  13
       (Alaska) Inc., 643 F.3d 681, 688 (9th Cir. 2011). Both of these alternatives are
  14
       satisfied here.
  15
             While the PHH court did not “consider the legal ramifications of [its]
  16
       decision for past CFPB rules or for past agency enforcement actions” (PHH, 839
  17
       F.3d at 39, fn. 19), the impact of the Bureau’s unconstitutional structure is an issue
  18
       on which fair-minded jurists can disagree. For example, the Bureau’s attempt to
  19
       relegate the constitutional defect at issue here to a harmless error category is based
  20
       on the premise of administrative efficiency. While adoption of Defendants’ view
  21
       may cause administrative inefficiency in light of the pending lawsuits filed by the
  22
       Bureau, Defendants have argued that administrative efficiency is never a reason to
  23
       withhold the proper remedy when a constitutional violation is established. In their
  24
       view, “[t]he Constitution’s structure requires a stability which transcends the
  25
       convenience of the moment.” Clinton, 524 U.S. at 449 (Kennedy, J., concurring).
  26
       Defendants further argue that “the fact that a given law or procedure is efficient,
  27
       convenient, and useful in facilitating functions of government, standing alone, will
  28

                                                  7
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 9 of 16 Page ID #:439



   1   not save it if it is contrary to the Constitution.” INS v. Chadha, 462 U.S. 919, 944
   2   (1983). Rather, in Defendants’ view, “the Constitution protects us from our own
   3   best intentions: It divides power among sovereigns and among branches of
   4   government precisely so that we may resist the temptation to concentrate power in
   5   one location as an expedient solution to the crisis of the day.” New York v. United
   6   States, 505 U.S. 144, 187 (1992). Therefore, while the Court adopted Defendants’
   7   position that the Bureau is structurally defective, the Court’s failure to allow a
   8   proper remedy for this violation presents a novel issue on which fair-minded jurists
   9   can disagree. This is further evidenced by the contrary view endorsed in other
  10   cases. See NRA Political Victory Fund, 6 F.3d at 822 (“appellants raise the
  11   constitutional challenge as a defense to an enforcement action, and we are aware of
  12   no theory that would permit us to declare the Commission’s structure
  13   unconstitutional without providing relief to the appellants in this case”); see also
  14   CFPB v. Gordon, 819 F.3d 1179, 1198-1204 (9th Cir. 2016) (Ikuta, J., dissenting)
  15   (adopting the appellant’s view and rejecting the majority’s view regarding the legal
  16   effect of the unconstitutional recess appointment of the CFPB’s director).
  17         In sum, the second criterion under section 1292(b) is satisfied here.
  18
                    3.    Resolution of the proper remedy for the Bureau’s
  19                      unconstitutional structure would materially advance the
  20                      litigation.

  21
             As discussed above, before certifying an appeal under section 1292(b), the
  22
       Court must determine whether the interlocutory appeal “may materially advance
  23
       the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). However, there is
  24
       no requirement “that the interlocutory appeal have a final, dispositive effect on the
  25
       litigation[.]” Reese, 643 F.3d at 688. This is consistent with the permissive
  26
       language used by the statute -- that “an immediate appeal from the order may
  27
       materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b).
  28

                                                 8
        [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                         CONCOMITANT STAY
       2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 10 of 16 Page ID #:440



    1   If “interlocutory reversal might save time for the district court, and time and
    2   expense for the litigants,” appellate review should be entertained. Johnson, 930
    3   F.2d at 1206 (emphasis added) (addressing the related issue as to what constitutes a
    4   controlling question of law); id. at 1205 (noting that threshold questions, by their
    5   nature, “may materially advance the ultimate termination of the litigation”); see
    6   also Kuehner v. Dickinson & Co., 84 F.3d 316, 319 (9th Cir. 1996) (order requiring
    7   parties to arbitrate involved “controlling question of law” even though, by its
    8   nature, the order could not have disposed of the case).
    9             Applying these principles, district court decisions on motions to dismiss can
   10   be ideal candidates for appeal pursuant to section 1292(b). See Tuazon v. R.J.
   11   Reynolds Tobacco Co., 433 F.3d 1163, 1168 (9th Cir. 2006) (denial of dismissal
   12   motion based on personal jurisdiction and forum non conveniens issues). Finally,
   13   because no trial date has been set, this further justifies the need for certification.
   14   See Shurance v. Planning Control Int'l, Inc., 839 F.2d 1347, 1348 (9th Cir. 1988)
   15   (relief denied under section 1292(b) where trial was scheduled to begin months
   16   later).
   17

   18
                  B.    In addition, the Court certifies the constitutional questions
                        presented under the void-for-vagueness doctrine.
   19

   20                   1.    Identifying and applying the proper test to evaluate
                              Defendants’ vagueness argument presents another
   21                         controlling legal question.
   22
                  The Bureau successfully argued in this case that Hoffman Estates, 455 U.S.
   23
        489 imposes a low-threshold test in evaluating Defendants’ due process argument
   24
        based on the vagueness doctrine. (D.E. 48, p. 5.) The Court adopted the Bureau’s
   25
        view (D.E. 57, p.10), rejecting Defendants’ constitutional argument.
   26
                  This legal analysis satisfies the first requirement for interlocutory appeal
   27
        because the legal issue presented here – the proper test for evaluating the void-for-
   28

                                                    9
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 11 of 16 Page ID #:441



    1
        vagueness challenge – is a controlling legal question. While the Bureau relied on

    2
        Hoffman Estates, Defendants have argued in their certification motion that the

    3
        validity of that decision and its application here are highly suspect. That case held

    4   that, in evaluating vagueness challenges, “assuming the enactment implicates no

    5   constitutionally protected conduct,” the court should uphold the challenge “only if

    6   the enactment is impermissibly vague in all of its applications.” Hoffman Estates,

    7   at 494-495 & fn. 7. Here, however, Defendants argue that while false advertising is

    8   admittedly not a constitutionally protected category of speech, the remaining

    9   allegations presented here are not immune from such constitutional scrutiny.3 In

   10   sum, the initial inquiry in identifying the proper test for evaluating Defendants’

   11   void-for-vagueness argument presents a controlling legal question, thus satisfying

   12   the first requirement under section 1292.

   13
                     2.    A substantial basis exists for difference of opinion regarding
   14                      the constitutional due process issue presented here.
   15
              In attacking Defendants’ as-applied challenge, the Bureau successfully
   16
        argued that “the CFPA is explicit in its prohibition of unfair and abusive acts and
   17
        practices, and the statute itself sets forth the elements of both claims. Defendants
   18
        have therefore had notice of the elements of prohibited conduct since … the date
   19
        the CFPA became law.” (D.E. 48, p. 4.) Judging by this argument (which was
   20
        adopted by the Court), the Bureau believes that facial validity of a statute
   21
        necessarily precludes a party from presenting an as-applied challenge.
   22

   23

   24   3
          Defendants also contend that the test adopted in Hoffman Estates is obsolete in
   25   light of the recent decision in Johnson v. United States, 135 S. Ct. 2551 (2015). As
        Justice Scalia explained in the majority opinion, the Court’s decisions “squarely
   26   contradict the theory that a vague provision is constitutional merely because there
   27   is some conduct that clearly falls within the provision’s grasp.” Id. at 2561; see
        also id. at 2580 (confirming that the majority has jettisoned the test adopted in
   28   Village of Hoffman Estate) (Alito, J., dissenting).
                                                    10
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 12 of 16 Page ID #:442



    1
              While some courts have adopted the Bureau’s approach, Defendants have

    2
        argued that this approach is analytically flawed. In Palmer v. A.H. Robins Co., 684

    3
        P.2d 187 (Colo. 1984), for example, the Colorado Supreme Court examined the

    4   language of the state’s punitive damages statute in evaluating whether the

    5   application of that statute – whose facial validity was also challenged – violated the

    6   defendant’s due process rights. Id. at 214-215. While that court adopted the

    7   Bureau’s analytical approach in evaluating as-applied challenges (by examining

    8   the statutory language), Defendants argue that this approach ignores the basic rule

    9   that a statute may be unconstitutional as applied, even if it is facially valid. (D.E.

   10   57, pp. 10-11.) Based on these arguments, the Court finds that a substantial basis

   11   exists for difference of opinion regarding Defendants’ void-for-vagueness doctrine.

   12         This finding is further bolstered by Defendants’ argument that even if we

   13   assume the Bureau’s interpretation of the statutory law is correct, the CFPA statute

   14   is nonetheless invalid because it encourages discriminatory enforcement. Under

   15   this “more important aspect of the vagueness doctrine” (Kolender v. Lawson, 461

   16   U.S. 352, 357-358 (1983)), a law is impermissible if it allows or encourages law

   17   enforcement to administer the law – e.g., based on their own eye-of-the-beholder

   18   test in interpreting or applying the law – as they see fit. According to Defendants,
   19   neither the prior FTCA cases nor the CFPB’s guidelines (D.E. 57, pp. 11-12)
   20   eliminate the practical, legal implication of the new interpretation of the law
   21   advanced by the CFPB. To the contrary, the Bureau’s unilateral power to obtain
   22   significant funding without traditional congressional oversight (12 U.S.C. §
   23   5497(a)(2)(C)) exacerbates the risk of arbitrary enforcement in the absence of
   24   financial accountability, they claim. Defendants also argue that, far from resolving
   25   those concerns, the self-generated guidelines of the CFBP create other
   26   constitutional cans of worms because it is “contrary to fundamental principles of
   27   separation of powers to permit the person who promulgates a law to interpret it as
   28   well.” Talk Am., Inc. v. Mich. Bell Tele. Co., 564 U.S. 50, 68 (2011) (Scalia, J.,
                                                  11
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 13 of 16 Page ID #:443



    1
        concurring); accord, Perez v. Mortg. Bankers Ass’n, 135 S. Ct. 1199, 1217-1220

    2
        (2014) (Thomas, J., concurring in the judgment) (explaining the separation-of-

    3
        powers concerns with adopting an agency’s interpretation of the law).

    4         Invoking these cases, Defendants contend that even if we assume that the

    5   CFPA statute is not ambiguous, they cannot be held liable in this case due to the

    6   Bureau’s novel interpretation of that non-ambiguous law, citing Bouie v. City of

    7   Columbia, 378 U.S. 347 (1964) and Rabe v. Washington, 405 U.S. 313, 315-316

    8   (1972) (conviction reversed on vagueness ground where state Supreme Court’s

    9   interpretation failed to give defendant “fair notice that criminal liability is

   10   dependent upon” the location where the allegedly obscene film was displayed by

   11   defendant). Based on these arguments, the Court finds that a substantial basis

   12   exists for difference of opinion regarding Defendants’ void-for-vagueness doctrine.

   13
                    3.     Resolution of the void-for-vagueness issue would materially
   14                      advance the litigation.
   15
              If the Court of Appeals adopts Defendants’ void-for-vagueness argument,
   16
        the net effect of that holding would be the entry of judgment in Defendants’ favor.
   17
        The resolution of this dispositive issue would necessarily advance the litigation by
   18
        terminating this lawsuit, thus satisfying the last requirement for interlocutory
   19
        review.
   20

   21         C.    In addition to certifying its decision for interlocutory appellate
   22               review, this Court stays further proceedings in this court pending
                    the completion of appellate proceedings.
   23

   24         “A trial court may, with propriety, find it is efficient for its own docket and
   25   the fairest course for the parties to enter a stay of an action before it, pending
   26   resolution of independent proceedings which bear upon the case.” See Leyva v.
   27   Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979). “Where it is
   28

                                                 12
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 14 of 16 Page ID #:444



    1   proposed that a pending proceeding be stayed, the competing interests which will
    2   be affected by the granting or refusal to grant a stay must be weighed. Among
    3   these competing interests are the possible damage which may result from the
    4   granting of a stay, the hardship or inequity which a party may suffer in being
    5   required to go forward, and the orderly course of justice measured in terms of the
    6   simplifying or complicating of issues, proof, and questions of law which could be
    7   expected to result from a stay.” Filtrol Corp. v. Kelleher, 467 F.2d 242, 244 (9th
    8   Cir. 1972) (internal quotation marks and citations omitted).
    9         Under this balancing test, “a stronger showing of one element may offset a
   10   weaker showing of another.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d
   11   1127, 1131 (9th Cir. 2011) (addressing preliminary injunction standard). It is
   12   “clear,” however, that “to justify a stay, petitioners need not demonstrate that it is
   13   more likely than not that they will win on the merits.” Leiva-Perez v. Holder, 640
   14   F.3d 962, 966 (9th Cir. 2011) (per curiam) (stay of removal). Applying these
   15   principles here, this Court issues a stay based on the following analysis in order to
   16   “promote economy of time and effort for itself, for counsel, and for litigants.”
   17   Filtrol Corp., 467 F.2d at 244.
   18

   19
                     1.    The balance of hardships tips decidedly in favor of a stay
                           pending the resolution of appellate proceedings. Otherwise,
   20                      Defendants will suffer irreparable injury.
   21
              Absent a stay, the parties will be forced to continue forward with merits-
   22
        based discovery, not to mention motion practice and extensive trial preparations.
   23
        The burdens attendant with that discovery, motion and trial preparation will be
   24
        particularly acute, given the large universe of documents previously sought by the
   25
        Bureau during the administrative phase of this case. In addition, Defendants will
   26
        need to seek comparably extensive discovery in connection with the issues of
   27
        liability and damages.
   28

                                                  13
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 15 of 16 Page ID #:445



    1         “The advantages of immediate appeal increase with the probabilities of
    2   prompt reversal, the length of the district court proceedings saved by reversal of an
    3   erroneous ruling, and the substantiality of the burdens imposed on the parties by a
    4   wrong ruling.” Wright & Miller, supra, § 3930. Here, that balance weighs
    5   decisively toward certification and stay. Prompt reversal of the order would render
    6   unnecessary virtually all of this litigation, substantially lessening the burdens on
    7   both the parties and the Court. Given the relatively early stage of this complicated,
    8   fact-intensive case involving numerous witnesses and a large universe of
    9   documents, an interlocutory appeal would not prejudice the Bureau.
   10
                     2.    Serious questions are presented by Defendants’ request for
   11                      interlocutory appeal.
   12
              Defendants have a sufficient likelihood of success on the merits to support
   13
        the issuance of a stay because their threshold arguments raise serious legal
   14
        questions in terms of the application of the pertinent provisions of the federal
   15
        Constitution. As acknowledged by this Court, “the CFPB has provided much
   16
        fodder for constitutional objection in the years since its creation,” further
   17
        underscoring the appropriateness of a stay in this case. (D.E. 57, p. 6.)
   18
              The constitutional issues, of course, are not only of substantial importance to
   19
        the parties here, but to the entire financial services industry throughout the fifty
   20
        states who are struggling with the Bureau’s interpretation of the law. Given the
   21
        serious and important questions raised by the Court’s order, a stay is warranted.
   22

   23                3.    The public interest weighs in favor of a stay.
   24
              Finally, a stay would serve important interests of sound and fair judicial
   25
        administration. The public interest lies in proper resolution of the important issues
   26
        raised in this case, and issuance of stay would avoid wasting resources on a lawsuit
   27
        which might be dismissed on appeal.
   28

                                                  14
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
Case 2:15-cv-09692-PSG-E Document 69-1 Filed 12/27/16 Page 16 of 16 Page ID #:446



    1         Otherwise, based on Defendants’ credible statement of inability to obtain a
    2   likely multi-million dollar appeal bond, requiring Defendants to challenge an
    3   adverse judgment after a full-blown trial would undermine Defendants’ right to a
    4   meaningful appeal. Forcing a party to incur the expense of litigation before its
    5   interlocutory appeal is heard may, in practice, render the appeal illusory or moot
    6   (e.g., if Defendants are forced into bankruptcy). As a result, the balance tips
    7   sharply in favor of a stay.
    8

    9   IV.   CONCLUSION
   10

   11         Defendants have sought certification by this Court in order to explore
   12   appellate review of the recent adverse ruling on their motion to dismiss.
   13   Accordingly, the motion is granted. In lieu of amending its November 17, 2016
   14   order by certifying that order for interlocutory appellate review (Fed. R. App. Proc.
   15   5(a)(3)), the Court enters this proposed order. The Court also stays further
   16   proceedings in this Court pending completion of appellate proceedings.
   17

   18

   19   DATED: March___, 2017
   20

   21                                   By: /s/
   22                                          Hon. Philip S. Gutierrez
                                               United States District Court Judge
   23

   24

   25

   26

   27

   28

                                                 15
         [PROPOSED] ORDER ON DEFENDANTS’ MOTION FOR CERTIFICATION OF INTERLOCUTORY APPEAL &
                                          CONCOMITANT STAY
        2656953v.1
